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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

 v.                                                            Case No. 21-cr-670

 STEVEN K. BANNON,

                   Defendant.

 CABLE NEWS NETWORK, INC., et al.,

                  Proposed Intervenors.


                    THE PRESS COALITION’S REQUEST FOR HEARING

          Pursuant to Local Criminal Rule 47(f), Proposed Intervenors (the “Press Coalition”)

respectfully request that the Court schedule a hearing on their Motion to Intervene, which was

submitted for filing on November 26, 2021 and is still pending before this Court.1

          While the Court has entered the Protective Order in this case (Dkt. 20), the legal issues

presented in the Press Coalition’s Motion to Intervene remain unresolved. Specifically, the

Protective Order does not find, and the Government has not demonstrated, a “reasonable

likelihood of prejudice” absent restrictions on Defendant’s republication of discovery materials,

or that no “less restrictive alternatives” would adequately mitigate any perceived harm. See

United States v. Morrow, 2005 U.S. Dist. LEXIS 8330 at *20 (D.D.C. Mar. 21, 2005).

          A hearing on the Motion to Intervene would permit the Press Coalition and the parties to

further assist the Court in resolving these important issues of transparency, the public interest,

and the Constitution.


      1
     Defendant also filed a copy of the Press Coalition’s Motion to Intervene as Exhibit 3 (Dkt.
14-3) to his Motion to File Sur-Reply, which the Court granted in its Minute Order of December
10, 2021.
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Dated: December 13, 2021   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of December 2021, I caused true and correct copies

of the foregoing to be served via electronic mail and U.S. Mail on the following:

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